        Case 1:25-cr-00179-PJE          Document 1        Filed 04/25/25       Page 1 ofU.S.
                                                                                          1 DISTRICT COURT – N.D. OF N.Y.
                                                                                                    FILED
                                                                                                Apr 25 - 2025
                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF NEW YORK                                       John M. Domurad, Clerk

 UNITED STATES OF AMERICA                       )   Criminal No.              179
                                                                     1:25-CR-________   PJE
                                                                                      (_____)
                                                )
               v.                               )   Information
                                                )
 AKEEL ABDUL JAMIEL,                            )   Violation:     18 U.S.C. § 611
                                                )                  [Voting by Aliens]
                                                )
                                                )   One Count
                                                )
               Defendant.                       )   County of Offense:       Saratoga


                     THE UNITED STATES ATTORNEY CHARGES:

                                          COUNT 1
                                       [Voting by Aliens]

       On or about November 3, 2020, in Saratoga County in the Northern District of New York,

the defendant, AKEEL ABDUL JAMIEL, an alien, fully knowing he was not a United States

citizen, did knowingly vote in an election held in part for the purpose of electing a candidate for

President, Vice President, and Member of the House of Representatives, in violation of Title 18,

United States Code, Section 611.



 Dated: April 24, 2025


                                         By:

                                                    John A. Sarcone III
                                                    United States Attorney
                                                    Bar Roll No. 706285
